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No. 22-3157 FILED

May 16, 2022
UNITED STATES COURT OF APPEALS ,
FOR THE SIXTH CIRCUIT DEBORAH 8S. HUNT, Clerk

In re: NATIONAL PRESCRIPTION OPIATE
LITIGATION

In re: PUBLIX SUPER MARKETS, INC.,

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Petitioner.

Before: NORRIS, GIBBONS, and LARSEN, Circuit Judges.

Defendant Publix Super Markets, Inc. petitions for a writ of mandamus, asking that we
compel the district court to certify a question of state law to the Georgia Supreme Court in this
multidistrict opiate litigation.

“The traditional use of the writ in aid of appellate jurisdiction . . . has been to confine [the
court against which mandamus is sought] to a lawful exercise of its prescribed jurisdiction.”
Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 380 (2004) (alteration in original) (quoting Roche
v. Evaporated Milk Ass’n, 319 U.S. 21, 26 (1943)). “[T]he writ is one of the most potent weapons
in the judicial arsenal,” and “only exceptional circumstances amounting to a judicial usurpation of
power or a clear abuse of discretion will justify [its] invocation.” Jd. (internal quotation marks and
citations omitted). To preserve its use to only extraordinary causes, a petitioner must satisfy three
conditions. First, the petitioner cannot have adequate alternative means to obtain the relief it
seeks—“a condition designed to ensure that the writ will not be used as a substitute for the regular

appeals process.” Jd. at 380-81. Second, the petitioner must show a “clear and indisputable” right
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to the relief sought. Jd. at 381 (citation omitted). Finally, the petitioner must show that issuing
the writ is otherwise “appropriate under the circumstances.” Id.

Publix has not one, but two adequate alternative means to obtain the relief it seeks. First,
Publix can raise the district court’s denial of its motion to certify the question in an appeal from
the judgment. See, e.g., Devereux v. Knox Cnty., Tennessee, 15 F 4th 388, 392 (6th Cir. 2021)
(reviewing a district court’s denial of a motion to certify a question to a state court for abuse of
discretion). Second, Publix can move this court to certify the question. See, e.g., State Auto Prop.
& Cas. Ins. Co. v. Hargis, 785 F.3d 189, 194 (6th Cir. 2015) (“[C]ertification of a question of
state law may be invoked by an order of this court.”’).

Moreover, Publix does not show a “clear and indisputable” right to mandamus in this case.
Publix’s failure to timely raise its certification request is a sufficient ground for denial. Hargis,
785 F.3d at 194.

Accordingly, the petition for a writ of mandamus is DENIED.

ENTERED BY ORDER OF THE COURT

A lho

Deborah S. Hunt, Clerk

